               Case 3:21-cr-00402-RS Document 277 Filed 06/29/23 Page 1 of 2




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11
                                     UNITED STATES DISTRICT COURT
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                                  NORTHERN DISTRICT OF CALIFORNIA
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                                         SAN FRANCISCO DIVISION
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15   UNITED STATES OF AMERICA,                       )   CR 21-0402 RS
                                                     )
16           Plaintiff,                              )   UNITED STATES’ OPPOSITION TO
                                                     )   DEFENDANT’S MOTION TO DENY THE
17      v.                                           )   GOVERNMENT’S REQUEST FOR A WITNESS
                                                     )   INTERPRETER
18   HARLAN KELLY, JR,                               )
                                                     )   Hearing: June 30, 2023, 8:00 a.m.
19           Defendant.                              )   Dept:    Courtroom 3, 17th Floor
                                                     )   Judge;   Honorable Richard Seeborg
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             The government respectfully asks this Court to deny defendant Harlan Kelly’s motion to deny
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     the government’s request for witness Walter Wong to testify through a Cantonese-language interpreter.
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             Wong was born and raised in China, and his mother tongue is Cantonese. He came to the United
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     States when he was 20-years-old. While Wong understands and speaks English, he is not a fluent,
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     native English speaker. He often relies on others to write his emails and other correspondence in
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     English. At home and at work he communicates primarily in Cantonese. Further, Wong has suffered
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     two strokes, which has impacted his ability to communicate clearly in English. Wong is more
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     OPP. TO DEF’S MOT.
     No. CR 21-0402 RS___________
              Case 3:21-cr-00402-RS Document 277 Filed 06/29/23 Page 2 of 2




 1 comfortable speaking in Cantonese, particularly during formal court proceedings when he will need to

 2 fully and clearly understand the questions and be able to respond.

 3          “[T]he appointment of an interpreter lies within the sound discretion of the trial judge, and the

 4 appointment of an interpreter will only be disturbed on appeal if the judge has abused that discretion.”

 5 United States v. Salsedo, 607 F.2d 318, 320, (9th Cir. 1979). “A defendant who communicates well in

 6 English and has no primary reliance on a foreign language is not entitled to an interpreter under the

 7 Court Interpreters Act, 28 U.S.C. § 1827(d)(1).” United States v. Catalano, 974 F.2d 1343 (9th Cir.

 8 1992). The threshold question is not whether Wong is “capable” of testifying in English but rather if he

 9 “communicates well in English and has no primary reliance on a foreign language.” See United States

10 v. Catalano, 974 F.2d 1343 (9th Cir. 1992) (emphasis added). Here, there is evidence that demonstrates

11 the limits on Mr. Wong’s ability to communicate fluently in English, as well as his reliance on

12 Cantonese. In addition, the court should consider witness comfort, jury comprehension, and the court’s

13 time and resources. Wong is most comfortable testifying with the assistance of an interpreter. His

14 primary and native language is Cantonese and he at times relies on assistance when communicating in

15 English. Having an interpreter would also aid in jury comprehension. The Salsedo court determined that

16 having an interpreter would “eliminate any serious problems with nuances in language.” Id.

17          Finally, providing an interpreter would ensure smoother, more comprehensible testimony, which

18 is in the Court’s and the jury’s best interest. The government has secured the service of a Court-certified

19 Cantonese interpreter, and the defendant will have ample opportunity for cross-examination.

20 Defendant’s motion should be denied

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     DATED:        June 29, 2023                                  Respectfully submitted,
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25                                                                /s/ David J. Ward
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     OPP. TO DEF’S MOT.
     No. CR 21-0402 RS___________
